 Case 2:22-mc-00156-UA Document 2 Filed 08/19/22 Page 1 of 5 Page ID #:2




1 MICHAEL WALLIN, Cal. Bar No. 240344
  WALLIN & RUSSELL LLP
2 26000 Towne Centre Drive, Suite 130
  Foothill Ranch, California 92610
3 Telephone: 949-652-2200
  Facsimile: 949-652-2210
4 mwallin@wallinrussell.com
5
  Attorneys for Judgment Creditor
6 THE GREEN TRADING COMPANY, LLC
7
8                             UNITED STATES DISTRICT COURT

9                            CENTRAL DISTRICT OF CALIFORNIA

10
11 THE GREEN TRADING COMPANY, LLC,              Case No.

12                     Plaintiff,
                                                REGISTRATION OF FOREIGN
13                                              JUDGMENT
         v.
14
15 BARRY SHY,
16                     Defendant.

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 Case 2:22-mc-00156-UA Document 2 Filed 08/19/22 Page 2 of 5 Page ID #:3




1                             REGISTRATION OF FOREIGN JUDGMENT

2           Judgment creditor The Green Trading Company, LLC, by and through its undersigned
3 counsel, hereby files this Registration of Foreign Judgment pursuant to 28 U.S. Code § 1963.
4           1.       The Green Trading Company, LLC (“Judgment Creditor”) is the Judgment Creditor
5 in this matter.
6           2.       Barry Shy is the Judgment Debtor in this matter.
7           3.       On July 26, 2022, Judgment Creditor obtained a judgment against Judgment
8 Debtors in the United States District Court for the District of Oregon, Case No. 1:20-cv-01787-CL
9 (the “Judgment”).
10          4.       A certified copy of the Judgment is attached hereto as Exhibit A.
11          5.       28 U.S. Code § 1963 states as follows:
12               A judgment in an action for the recovery of money or property entered in any
                 court of appeals, district court, bankruptcy court, or in the Court of
13               International Trade may be registered by filing a certified copy of the
14               judgment in any other district or, with respect to the Court of International
                 Trade, in any judicial district, when the judgment has become final by appeal
15               or expiration of the time for appeal or when ordered by the court that entered
                 the judgment for good cause shown. Such a judgment entered in favor of the
16               United States may be so registered any time after judgment is entered. A
                 judgment so registered shall have the same effect as a judgment of the district
17               court of the district where registered and may be enforced in like manner.
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            6.       The Judgment has become final.
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            7.       There is no pending appeal of the Judgment and the time for appeal has expired.
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            8.       As of the date of this Registration of Foreign Judgment, the Judgment remains
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     unsatisfied.
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 Case 2:22-mc-00156-UA Document 2 Filed 08/19/22 Page 3 of 5 Page ID #:4




1          I declare under the penalty of perjury of the laws of the United States of America that the

2 foregoing is true and correct.
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4
     Dated: August 12, 2022
5
6                                      WALLIN & RUSSELL LLP

7
                                       By
8
                                                               MICHAEL WALLIN
9                                                         Attorneys for Judgment Creditor
                                                      THE GREEN TRADING COMPANY, LLC
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Case 2:22-mc-00156-UA Document 2 Filed 08/19/22 Page 4 of 5 Page ID #:5
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